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AO 472 (Rev. 6/05) Order of Detention Pending Trial


                                                  United States District Court
                                                      Eastern District of Michigan

United States of America                                        ORDER OF DETENTION PENDING TRIAL
       v.
Sergio Quiroga           /                                      Case Number: 07-30049
                  Defendant

         In accordance with the Bail Reform Act, 18 U.S.C. §3142(f), a detention hearing has been held. I conclude that the following
facts require the detention of the defendant pending trial in this case.

                                                     Part I – Findings of Fact
     T (1) I find that:
                T there is probable cause to believe that the defendant has committed an offense
                T for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841 or 846;
                “ under 18 U.S.C. § 924(c). (Based on supporting affidavit)

    T (2) I further find that the defendant has not rebutted the presumption established by finding that no condition or combination
of conditions will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                         Alternative Findings
          “ I find that the government has established by a preponderance of the evidence that there is a serious risk that the defendant
will not appear. -

         “ I find that the government has established by clear and convincing evidence that there is a serious risk that the defendant
will endanger the safety of another person or the community.

                                         Part II – Written Statement of Reasons for Detention
         T I find that the credible testimony and information submitted at the hearing established the following factors under 18
U.S.C. § 3142(g):
                  T (a) nature of the offense - Large scale cocaine distribution conspiracy.
                  T (b) weight of the evidence - Strong - wire intercept; defendant arrested with buy money / cell phone.
                  T (c) history and characteristics of the defendant - Four felony convictions; two drug violations.
                            T 1) physical and mental condition - Good health - chronic long term drug use.
                            T 2) employment, financial, family ties - Part time job; owns real estate.
                            T 3) criminal history and record of appearance - Four felony convictions, three pending misdemeanor
                                     cases.
                  T (d) probation, parole or bond at time of the alleged offense - On bond for misdemeanor drug possession at time of
                                      instant offense.
                  T (e) danger to another person or community - Drug use, drug distribution and history of firearm possession.

          In connection with a prior arrest, this defendant provided police with an alias name and produced false identification
          documents (Michigan Drivers License). Pretrial Services views him as a flight risk. I agree. Defendant faces mandatory
          minimum sentence of twenty years, with a maximum of life, if convicted.

                                                Part III – Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection with a court proceeding.

                                                                s/Donald A. Scheer
Date: January 25, 2007                                                           Signature of Judge
                                                                Donald A. Scheer, United States Magistrate Judge
                                                                             Name and Title of Judge
